                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 4:10-cr-30
 v.                                                    )
                                                       )       MATTICE / LEE
 KEVIN ARGO                                            )


                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on January 25, 2011.

 At the hearing, defendant moved to withdraw his not guilty plea to Counts One and Ten of the

 fourteen-count Indictment and entered a plea of guilty to the lesser included offense of the charge

 in Count One, that is of conspiracy to manufacture and distribute five (5) grams or more of

 methamphetamine (actual) and fifty (50) grams or more of a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846 and 841(b)(1)(B) and Count Ten, felon in possession of a firearm or ammunition in

 violation of 18 U.S.C. § 922(g) in exchange for the undertakings made by the government in the

 written plea agreement. On the basis of the record made at the hearing, I find the defendant is fully

 capable and competent to enter an informed plea; the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; the plea is made voluntarily and free from

 any force, threats, or promises, apart from the promises in the plea agreement; the defendant

 understands the nature of the charge and penalties provided by law; and the plea has a sufficient

 basis in fact.

         Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Counts

 One and Ten of the Indictment be granted, his plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to manufacture and distribute five (5) grams or more of



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 methamphetamine (actual) and fifty (50) grams or more of a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846 and 841(b)(1)(B) and Count Ten, felon in possession of a firearm or ammunition in

 violation of 18 U.S.C. § 922(g) be accepted, the Court adjudicate defendant guilty of the lesser

 included offense of the charge in Count One of the Indictment, that is of conspiracy to manufacture

 and distribute five (5) grams or more of methamphetamine (actual) and fifty (50) grams or more of

 a mixture and substance containing a detectable amount of methamphetamine, a Schedule II

 controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) and Count Ten, felon in

 possession of a firearm or ammunition in violation of 18 U.S.C. § 922(g), and a decision on whether

 to accept the plea agreement be deferred until sentencing. I further RECOMMEND defendant

 remain in custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt,

 acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

 judge.



                                                s/fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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